Case 2:19-cv-00624-RJC Document1-1 Filed 05/28/19 Page 1 of 3
3844 (Rev. 02/19) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

 

 

 

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS DEFENDANTS
Bessemer System Federal Credit Union Fiserv Solutions, LLC (ffk/a Fiserv Solutions, Inc.) and Fiserv, Inc.
(b) County of Residence of First Listed Plaintiff Mercer County, PA County of Residence of First Listed Defendant _Waukesha County, Wi
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(c) Attomeys (Firm Name, Address, and Telephone Number) Attomeys (if Known)
Pietragallo, Gordon, Alfano, Bosick & Raspanti LLP The Grail Law Firm, Koppers Bldg. 30th Floor,
7 West State Street, Suite 100, Sharon, PA. (724) 981-1397 436 Seventh Avenue, sburgh, PA (412) 227-2869
II. BASIS OF JURISDICTION (Piace an “x” in One Box Only) IH. CITIZENSHIP OF PRINCIPAL PARTIES (Ptace an “x” in One Box for Plaintiff
(for Diversity Cases Only) and One Box for Defendant)
O11 U.S. Government 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State K | = 1 Incorporated or Principal Place o4 04
of Business In This State
0 2 US. Goverament 34 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place as &s
Defendant {indicate Citizenship of Parties in Item Hi) of Business In Another State
Citizen or Subject of a O03 © 3. Foreign Nation 06 O86
Foreign Country

 

 

 

  
 

    
  

 

        

 

   

 

 

 

     
 

   
 

    

  

 

 

 

 

 

 

 

ATURE Click here for: Nature of Suit Code Descriptions,
:GONTRAt ate inuin  dft AROREEITURE/PENALTY: |: “BA! RUPTCV.. E a
© 110 Insurance PERSONAL INJURY PERSONAL INJURY {0 625 Drug Related Seizure © 422 Appeal 28 USC 158 0 375 False Claims Act
O 120 Marine OC 310 Airplane O 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal 0 376 Qui Tam (31 USC
CO 130 Miller Act 0 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a))
C8 140 Negotiable Instrument Liability CO 367 Health Care/ 0 400 State Reapportionment
CG 150 Recovery of Overpayment | 0 320 Assault, Libel & Phannaceutical Le 23] 410 Antitrust
& Enforcement of Judg Sland Personal Injury © 820 Copyrights 6 430 Banks and Banking
© 151 Medicare Act G1 330 Federal Employers’ Product Liability © 830 Patent G 450 Commerce
0 152 Recovery of Defaulted Liability © 368 Asbestos Personal O 835 Patent - Abbreviated 0 460 Deportation
Student Loans C340 Marine Injury Product New Drug Application | ( 470 Racketeer Influenced and
{Excludes Veterans) C345 Marine Product Liability C) 840 Trademark Corrupt Organizations
1 153 Recovery of Overpayment Liability PERSONAL PROPERTY (LABOR. Fk SOCIAL SECURITY — |] 0 480 Consumer Credit
of Veteran’s Benefits C350 Motor Vehicle O 370 Other Fraud O 710 Fair Labor Standards © 861 HIA (1395ff) O 485 Telephone Consumer
160 Stockholders’ Suits CG 355 Motor Vehicle O 371 Truth in Lending Act * [O 862 Black Lung (923) Protection Act
& 190 Other Contract Product Liability ( 380 Other Personal © 720 Labor/Management O 863 DIWC/DIWW (405(g)) | 490 Cable/Sat TV
195 Contract Product Liability |C 360 Other Personal Property Damage Relations OC 864 SSID Title XVI 6 850 Securities/Commadities/
CO 196 Franchise Injury 0 385 Property Damage 0 740 Railway Labor Act OC 865 RSI (405(g)) Exchange
© 362 Personal Injury - Product Liability 01 751 Family and Medical O 890 Other Statutory Actions
Medical Malpractice Leave Act O 891 Agricultural Acts
. EALIPROPERTY::|. S| TOIVIE'IRIGHTS!. RISONER PETITIONS JO 790 Other Labor Litigation ;__ «FEDERAL TAX:SUITS«::"| 0 893 Environmental Matters
CG 210 Land Condemnation G 440 Other Civil Rights Habeas Corpus: (J 791 Employce Retirement CO 870 Taxes (U.S. Plaintiff 6 895 Freedom of Information
CO 220 Foreclosure O 441 Voting OG 463 Alien Detainee Income Security Act or Defendant) * Act
C 230 Rent Lease & Ejectment 6G 442 Employment 1 510 Motions to Vacate 6 871 IRS—Third Party C1 896 Arbitration
O 240 Torts to Land © 443 Housing/ Sentence 26 USC 7609 GC 899 Administrative Procedure
O 245 Tort Product Liability Accommodations O 530 General Act/Review or Appeal of
O 290 All Other Real Property O 445 Amer. w/Disabilities - [0 535 Death Penalty “2, JDMIMIGRATION. Agency Decision
Employment Other: @ 462 Naturalization Application © 950 Constitutionality of
O 446 Amer. w/Disabilities- [0 540 Mandamus & Other [0 465 Other Immigration State Statutes
Other OG 550 Civil Rights Actions
© 448 Education O 555 Prison Condition
O 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “xX” in One Box Only)
O1 Original 2X2 Removed from QO 3° Remanded from O 4 Reinstated or CO 5 Transferred from © 6 Multidistrict 0 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -

(specifi) Transfer Direct File
Cite the US. Civil Statute under which you are filing (De not cite jurisdictional statutes untess diversity):
38 Urge: sec. 1335 y Be cite urisdictiona wo)

VI. CAUSE OF ACTION

 

Brief description of cause: . .
Alleged breach of Master Agreement for account processing services

 

 

 

 

 

 

VII. REQUESTEDIN O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURYDEMAND: Yes No
VIII. RELATED CASE(S)
instructis :
IF ANY (ee “ os" JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
05/28/2019 /s/ Brian C. Bevan
FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
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JS 44A REVISED June, 2009
IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF PENNSYLVANIA
THIS CASE DESIGNATION SHEET MUST BE COMPLETED

PART A
This case belongs on the ( O Erie © sohnstown © Pittsburgh) calendar.

1. ERIE CALENDAR ~ If cause of action arose in the counties of Crawford, Elk, Erie,
Forest, McKean. Venang or Warren, OR any plaintiff or defendant resides in one of said
counties.

2, JOHNSTOWN CALENDAR - If cause of action arose in the counties of Bedford, Blair,
Cambria, Clearfield or Somerset OR any plaintiff or defendant resides in one of
said counties.

3. Complete if on ERIE CALENDAR: I certify that the cause of action arose in
County and that the resides in County.

4. Complete if on JOHNSTOWN CALENDAR: I certify that the cause of action arose in
County and that the resides in County.

PART B (You are to check ONE of the following)

1.0 This case is related to Number . Short Caption
2.@) This case is not related to a pending or terminated case.

 

DEFINITIONS OF RELATED CASES:

CIVIL: Civil cases are deemed related when a case filed relates to property included in
another suit or involves the same issues of fact or it grows out of the same transactions
as another suit or involves the validity or infringement of a patent involved in another
suit EMINENT DOMAIN: Cases in contiguous closely located groups and in common ownership
groups which will lend themselves to consolidation for trial shall be deemed related.
HABEAS CORPUS &CIVIL RIGHTS: All habeas corpus petitions filed by the same individual
shall be deemed related. All pro se Civil Rights actions by the same individual shall be
deemed related.

PARTC
I. CIVIL CATEGORY (Select the applicable category).
1. © Antitrust and Securities Act Cases
2. oO Labor-Management Relations
3. ) Habeas corpus
4.© civil Rights
5. oO Patent, Copyright, and Trademark
6.O Eminent Domain
7.0 All other federal question cases
8.O All personal and property damage tort cases, including maritime, FELA,
Jones Act, Motor vehicle, products liability, assault, defamation, malicious
prosecution, and false arrest
5. © Insurance indemnity, contract and other diversity cases.
1 oO Government Collection Cases (shall include HEW Student Loans (Education),

V A Overpayment, Overpayment of Social Security, Enlistment
Overpayment (Army, Navy, etc.), HUD Loans, GAO Loans (Misc. Types),
Mortgage Foreclosures, SBA Loans, Civil Penalties and Coal Mine
Penalty and Reclamation Fees.}

I certify that to the best of my knowledge the entries on this Case Designation
Sheet are true and correct

/s/ Brian C. Bevan
pate: 5/28/2019

 

ATTORNEY AT LAW

NOTE: ALL SECTIONS OF BOTH FORMS MUST BE COMPLETED BEFORE CASE CAN BE PROCESSED.
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